   Case 24-00142-amc           Doc 2     Filed 12/05/24 Entered 12/05/24 11:54:08                Desc Summon
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Stream TV Networks, Inc. and Technovative          )          Case No. 23−10763−amc
Media, Inc.                                               )          Chapter 11
    Debtor(s)                                             )
                                                          )
    Rembrandt 3D Holding Ltd.                             )
    Plaintiff(s)                                          )          Adversary No. 24−00142−amc
                                                          )
    v.                                                    )
                                                          )
    William A. Homony, et al.                             )
    Defendant(s)



                            SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court on or before January 6, 2025, except that the United States and its
offices and agencies shall submit a motion or answer to the complaint on or before January 9, 2025.
     Address of the clerk                                      Eastern District of Pennsylvania
                                                               900 Market Street
                                                               Suite 400
                                                               Philadelphia, PA 19107
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

     Name/Address of Plaintiff's Attorney                       ANDREW PETER DEMARCO
                                                                Devlin Law Firm LLC
                                                                1526 Gilpin Avenue
                                                                Wilmington, DE 19806

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.




                                                                For The Court

                                                                Timothy B. McGrath
                                                                Clerk of Court
Date: December 5, 2024
